   Case: 3:16-cr-00063-SLO Doc #: 4 Filed: 05/03/16 Page: 1 of 1 PAGEID #: 6


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                                                                                                                                                 3:/6>-CJe.'Ot>3
Service was made via certified mail:

           Article Number g&TM!J& OOO^Q^ U\Iq
           Date of mailing                                            H*"Z-7 "( (p
                                    (Check line below to indicate appropriate method of service)

            Served personally upon the defendant at:




            Left summons at the defendant's dwelling, house or usual place ofabode with a person of
            suitable age and discretion then residing therein, and mailed a copy of the summons to                                                                the
defendant's last known address. Name of person w/ whom the summons was left:



            Returned unexecuted:




        1declare under penalty of perjury under the laws of the United States of America that the
foregoing information contained in this Return of Service is true and correct.



Reiurned on:                        $*>l(e
                             (Date)                                                                       (Sisnaiure.^^arvw^
                                                                                    -•   —   •   ---•


                                                                                         COMPLETE THIS SECTION ON DELIVERY
  SENDElT: COMPLETE THIS SECTION
   _ Complete items 1. 2, and 3.
   • Print your name and address onthe reverse
     so that we can return the card to you.                                              B. Received by (Printed Name)
   • Attach this card to the back ot the mailpiece,
     or on the front if space permits.
   1. Article Addressed to:
                                                                                         D Is delivery address different from rtem 1? • Yes
                                                                                             IfYES. eirte'delivery address below:.

                                                                                                        #
                                                                                                                  . . ifi '•>


                                                                                     3. Service. Type V.                           B PnotrtyMoil Express®
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                                                                                        D Adult SignoiiKO BWnctSJ Denver/          DBefltatejjd Mail Restricted
          lilll
          SS^Q 1401 0077 Slbfl 3b7M 7fl^
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                                                                                                                                  Domestic Return Receipt
    DC Pr,rm 381 1 Aoril 2015 PSN 7530-02-000-9053
